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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

                                                       §
 DAVID SAMBRANO, individually, and                     §
 on behalf of all others similarly situated,           §
                                                       §               Civil Action No.
         Plaintiffs,                                   §
                                                       §              4:21-CV-01074-P
 v.                                                    §
                                                       §
 UNITED AIRLINES, INC.,                                §
                                                       §
         Defendant.                                    §


 DEFENDANT UNITED AIRLINES, INC.’S OPPOSITION TO PLAINTIFFS’ MOTION
            FOR STAY OF DISTRICT COURT PROCEEDINGS

        On the eve of an agreed-upon deadline for Defendant United Airlines (“United”) to answer

the Amended Complaint and to respond to Plaintiffs’ pending motion for class certification,

Plaintiffs have filed a Motion for Stay of District Court Proceedings (“Motion”). ECF No. 123;

see ECF Nos. 107-108. This Court should deny the Motion. In any event, the Court should require

Plaintiffs to complete the briefing on their pending motion for class certification. ECF No. 101.

                                            ARGUMENT

        In most circumstances, a district court “has broad discretion to stay proceedings in the

interest of justice and to control its docket” and “[p]roper use of this authority calls for the exercise

of judgment, which must weigh competing interests and maintain an even balance.” OrthoAccel

Techs., Inc. v. Propel Orthodontics, LLC, No. 4:16-CV-00350-ALM, 2017 WL 3671862, at *2

(E.D. Tex. Apr. 28, 2017) (citing and quoting Landis v. North American Co., 299 U.S. 248, 254-

55 (1936)). However, it is well-settled that stays of district court proceedings pending appeal are

disfavored. See, e.g., United States v. Lynd, 321 F.2d 26, 28 (5th Cir. 1963) (explaining there is a



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“general proposition that an appeal from the denial or granting of a preliminary injunction should

not ordinarily delay the final trial of the case on the merits”). See also California v. Azar, 911 F.3d

558, 583-84 (9th Cir. 2018) (“We have repeatedly admonished district courts not to delay trial

preparations to await an interim ruling a preliminary injunction” and noting that the “disposition

of appeals from most preliminary injunctions may provide little guidance as to the appropriate

disposition on the merits”); Southern Glazer’s Distribs. of Ohio, LLC v. Great Lakes Brewing Co.,

No. 2:16-cv-861, 2016 WL 10637077, at *2-4 (S.D. Ohio Dec. 14, 2016) (denying motion to stay

district court proceedings pending preliminary injunction appeal because the appeal is not

duplicative of proceedings in the district court and discovery is necessary to resolve disputed issues

of law and fact); cf. 16 Charles Alan Wright & Arthur R. Miller, Fed. Practice & Procedure §

3921.2 (3d ed.) (“The desirability of prompt trial-court action in injunction cases justifies trial-

court consideration even of issues that may be open in the court of appeals” and noting that “Courts

of appeals, indeed, occasionally remind trial courts of the need to continue toward judgment.”).

       In this case, there are several reasons why a stay pending appeal is inappropriate. First, a

stay pending appeal should not be granted here because “any determination by the Court of

Appeals regarding [Plaintiffs’] motion for preliminary injunction will not be dispositive of all

issues . . . in this case.” Curtiss-Wright Flow Control Corp. v. Velan, Inc., No. SA-04-CA-1157-

OG, 2005 WL 8156669, at *1 (W.D. Tex. May 18, 2005). This Court’s ruling addressed only the

issue of irreparable injury for purposes of a preliminary injunction. Regardless of whether the

Fifth Circuit affirms or reverses that ruling, it will not resolve, among other things, (a) whether the

case should be certified as a class action and what the scope of any class should be (the subject of




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Plaintiffs’ pending class certification motion); and (b) the ultimate merits of Plaintiffs’ Title VII

and ADA claims (the subject of United’s forthcoming answer and subsequent proceedings). 1

         Second, Plaintiffs are wrong when they assert that “Defendant has no competing interest

in proceeding immediately in this Court while the Fifth Circuit considers Plaintiffs’ appeal.”

Mot. at 3. Plaintiffs are seeking back pay damages in this case, and the potential amount at issue

grows every day. United as well as the Plaintiffs have an interest in promptly ascertaining whether

there is indeed any plausible claim to back pay (and if the back pay issue is limited to the five

named Plaintiffs or is a class-wide issue).

         Third, Plaintiffs’ asserted interest in not proceeding expeditiously with the litigation is in

serious tension with their representations to this Court that they face significant imminent and

continuing harms absent injunctive relief. See Azar, 911 F.3d at 584 (explaining that a party

“might have been better served to pursue aggressively” its litigation in the district court, “rather

than apparently awaiting the outcome of this [preliminary injunction] appeal”).

         Fourth, as one of cases cited by Plaintiffs (Mot. at 2) explains, “[i]n deciding whether to

stay litigation, courts typically consider” if “a stay will unduly prejudice or present a clear tactical

disadvantage to the nonmoving party.”                    Sierra Club v. Energy Future Holdings Corp.,

No. 5:10CV156, 2011 WL 13220652, at *2 (E.D. Tex. Mar. 11, 2011). Granting a stay now would

give Plaintiffs a tactical advantage with respect to the pending briefing on class certification.

Several weeks ago, both sides agreed to propose a schedule whereby United would file its

opposition brief on December 7, 2021. See ECF Nos. 107-108. Despite being aware of that

deadline, Plaintiffs waited until December 6, just before United is due to file its opposition.


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            Plaintiffs’ reliance (Mot. at 2) on Nichols v. Alcatel in support of a stay is misplaced. There, in contrast to
this case, the district court had denied the preliminary injunction based in substantial part on an analysis of
likelihood of success on the merits, including by rendering detailed factual findings. See Nichols v. Alcatel USA,
Inc., No. 5:05-CV-43-DF, 2007 WL 9724511, at *2-24 (E.D. Tex. Apr. 26, 2007).

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Granting a stay now would, in effect, give Plaintiffs an indefinite extension of time on their reply.

Hence, even if the Court grants a stay, it should require Plaintiffs to complete the briefing on their

pending motion for class certification.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs’ Motion for Stay of District Court Proceedings should

be denied and, in any event, Plaintiffs should be required to complete briefing on their pending

motion for class certification.




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Dated: December 7, 2021           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        On December 7, 2021, I electronically submitted the foregoing document with the clerk of
court for the U.S. District Court, Northern District of Texas, using the electronic case filing system
of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                      /s/ Jordan M. Matthews
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